                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 FOOD LION, LLC, and MARYLAND               )
 & VIRGINIA MILK PRODUCERS                  )
 COOPERATIVE ASSOC. INC.,                   )
                                            )
                                            )
                      Plaintiffs,           )
                                            )
                 v.                         )                 1:20-CV-442
                                            )
 DAIRY FARMERS OF AMERICA,                  )
 INC.,                                      )
                                            )
                      Defendant.            )

                                       ORDER

       The matter is before the Court on review of the file for scheduling and case

management purposes and on the plaintiffs’ motion for expedited discovery in connection

with their motion for preliminary injunction. The Court held a hearing with counsel to

evaluate these matters on June 4, 2020.

       Upon consideration and in the Court’s inherent discretion to manage its docket,

the Court finds that expedited discovery is appropriate and that a scheduling order is

necessary. The motion for expedited discovery, Doc. 20, is GRANTED to the extent

stated herein.

       The defendant has stated its intent to file a motion to dismiss when its responsive

pleading is due in a few days, without seeking an extension of time, and the Court has

taken into account the scheduling for this briefing and related uncertainties. The Court

expects the defendant will follow through on that schedule, and the Court does not




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anticipate any extensions of time for the plaintiffs’ response. To facilitate a faster

resolution of the motion to dismiss, possibly in advance of the document production

contemplated by this Order, the time for the defendant’s reply is shortened to 7 days.

Briefing will thus be completed by the middle of July.

       Some of the proposed document requests submitted by the plaintiffs as an

attachment to their motion for expedited discovery, see Doc. 20-1, seem, on preliminary

review, to be overbroad and unduly burdensome for immediate expedited discovery,

assuming they are otherwise appropriate. To make it more likely that the defendant will

not object to document requests, or that such objections will be narrower in scope,

counsel shall immediately confer about the proposed document requests so the plaintiffs

can make informed decisions about narrowing them before service. Unless otherwise

agreed by the parties, and without prejudice to additional expedited discovery requests

due later, the plaintiffs may serve up to twelve document requests on the defendant no

earlier than seven days from entry of this Order, selecting from and narrowing if

appropriate the proposed requests at Doc. 20-1. Any objections to these twelve document

requests must be served within thirty days and no extensions are contemplated. At the

same time, the defendant must also begin producing responsive documents,1 unless the

Court sua sponte extends the time after reviewing the briefing on the motion to dismiss.




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     Some of the document requests proposed by the plaintiffs are clearly appropriate, so the
Court does not anticipate the defendant will refuse to produce any responsive documents at all;
production of these documents should not await resolution of any disputed issues. The Court
appreciates that it will not be feasible to produce every single responsive document immediately.
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       The parties shall also meet and confer about the need for any additional expedited

discovery the plaintiffs will seek, any written expedited discovery the defendant will

seek, and expedited depositions and a protective order, if needed. To the extent the

parties agree, they may proceed with such discovery without additional order of the

Court. If they disagree or they would like a consent schedule or limits entered by court

order, they shall file a Joint Submission setting forth the positions of all parties no later

than June 22, 2020, including a proposed Consent Order or dueling proposed orders.

       Subject to further order of the Court, all expedited discovery shall be completed by

September 11, 2020; the plaintiffs may file a supplemental brief and evidence in support

of the pending motion for preliminary injunction no later than September 18, 2020; the

defendant may respond no later than September 30, 2020; and the plaintiffs may file a

reply brief no later than October 7, 2020.

       The Court suggests to the parties that this case may be appropriate for a slightly

longer discovery period, and to then advance to a trial on the merits pursuant to Federal

Rule of Civil Procedure 65(a)(2). Another possibility is a schedule similar to one that

might be imposed in the Eastern District of Virginia. If the Court denies the motion to

dismiss, the parties are directed to meet and confer as required by Fed. R. Civ. P. 26(f)

within five days of the denial, and to discuss, in addition to the usual topics, whether a

Rule 65(a)(2) consolidation is appropriate, whether discovery can be completed on a

rocket docket schedule, and the best way to expeditiously, efficiently, and fairly move

this case to final resolution. The Rule 26(f) report required by the LR 16.2 shall include

discussion of these issues.

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   To summarize and state the schedule in a slightly different way:

      Immediately                 Parties to meet and confer on expedited discovery plan

      June 16, 2020               Defendant’s motion to dismiss

      June 17, 2020               Plaintiffs may serve document requests

      June 22, 2020:              Joint Submission on Discovery Schedule, if needed

      July 7, 2020:               Plaintiffs’ response to Defendant’s motion to dismiss

      July 14, 2020:              Defendant’s reply brief for motion to dismiss

      July 17, 2020:              Assuming 6/17/20 service, Defendant’s response to
                                  document requests is due and document production
                                  begins, subject to court review of briefing on motion to
                                  dismiss

      If MTD Denied               5 Days from denial, Parties meet and confer about
                                  scheduling going forward per Rule 26(f) and LR 16.1
                                  and this Order
   September 11, 2020             Expedited Discovery completed

   September 18, 2020             Plaintiffs’ supplemental brief and evidence in support
                                  of pending preliminary injunction motion, Doc. 13, if
                                  needed
   September 30, 2020             Defendant’s response to motion for preliminary
                                  injunction
   October 7, 2020                Plaintiffs’ reply brief for preliminary injunction



      While reasonable cooperation between counsel is expected and is consistent with

counsel’s duty of zealous representation, it does not always occur, and the Court


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appreciates counsel’s willingness, stated in open court, to work together to solve

logistical and discovery disputes and to move the case forward efficiently.

       SO ORDERED, this the 10th day of June, 2020.




                                          __________________________________
                                           UNITED STATES DISTRICT JUDGE




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